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  7   Attorneys for Defendant
      RUBEN CAVAZOS
  8
  9                         UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11                                    WESTERN DIVISION
 12    UNITED STATES OF AMERICA,                 )    NO. CR 08-1201-FMC
                                                 )
 13                       Plaintiff,             )    DECLARATION OF COUNSEL
                                                 )    PURSUANT TO COURT
 14                 v.                           )    MANAGEMENT ORDER
                                                 )
 15    RUBEN CAVAZOS, et. al.,                   )
                                                 )
 16                       Defendant.             )
                                                 )
 17
 18         Defendant, Ruben Cavazos, by and through his attorney of record, Deputy
 19   Federal Public Defender Angel Navarro, hereby submits the attached declaration of
 20   counsel with regard to the Court’s Management Order.
 21
 22                                             Respectfully submitted,
 23                                             SEAN K. KENNEDY
                                                Federal Public Defender
 24
 25
      DATED: December 15, 2008                By    /s/
 26                                             ANGEL NAVARRO
                                                Deputy Federal Public Defender
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  1                       DECLARATION OF ANGEL NAVARRO
  2
             I, Angel Navarro, hereby state and declare as follows:
  3
  4          1.       I am a Deputy Federal Public Defender in the Central District of
  5   California appointed to represent Ruben Cavazos. I was appointed to represent
  6   Mr. Cavazos on October 21, 2008.
  7
  8          2.       Thus far, I have met in person with Mr. Cavazos on the following
  9   dates: October 23, 2008; October 24, 2008; October 29, 2008; October 30, 2008;
 10   November 4, 2008; November 6, 2008, November 12, 2008; November 19, 2008
 11   and December 4, 2008.
 12
 13          I declare under penalty of perjury that the foregoing is true and correct to
 14   the best of my knowledge.
 15
      December 15, 2008                       /s/
 16                                     Angel Navarro
                                        Deputy Federal Public Defender
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